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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                         )
                                                 )
               v.                                )   No.    1:21-cr-460 (APM)
                                                 )
CALEB BERRY,                                     )
                                                 )
                        Defendant.               )

                                    JOINT STATUS REPORT

       The parties report that Defendant Caleb Berry continues to cooperate with the government.

We request the opportunity to file a further status report by December 17, 2021.

                                      Respectfully submitted,

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